                                       ORDERED.
 Dated: June 23, 2023




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:                                                        Case No. 6:22-bk-03286-TPG
                                                              Chapter 11
THE VILLAS OF COCOA VILLAGE LLC

                  Debtor.
___________________________________/

              ORDER GRANTING DEBTOR'S MOTION TO ADMINISTRATIVELY
                       CLOSE CHAPTER 11 CASE (DOC. NO. 230)

         THIS CASE came on for consideration, without a hearing, on the Debtor's Motion to

Administratively Close Chapter 11 Case (Doc. No. 230) (the "Motion") pursuant to the negative

notice provisions of Local Rule 2002-4. The Court, considering the Motion and the absence of

any record objection to the relief requested in the Motion by any party in interest, deems the

Motion to be uncontested. The Court finds that the Debtor’s First Plan of Reorganization (Doc.

No. 176), as amended and confirmed, has been substantially consummated in accordance with 11

U.S.C. § 1101(2) and the estate has been fully administered, except for the completion of all plan

payments.

         ORDERED:

         1.      The Motion (Doc. No. 230) is GRANTED.

         2.      This Chapter 11 case is administratively closed.
       3.      This Order shall not constitute an order closing this case for purposes of 28 U.S.C.

§ 1930 Appendix Part (11), 11 U.S.C. § 362(c)(2)(A), or Fed. R. Bankr. P. 4006.

       4.      As set forth in 11 U.S.C. § 1141(a), the provisions of the confirmed plan and

confirmation order shall continue to bind the Debtor, the creditors, and other parties in interest.

       5.      Debtor, any creditor, or any other party in interest may file a motion to reopen this

case pursuant to the terms of the confirmed plan without the necessity of paying a filing fee.



C. Andrew Roy, Esquire is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF users and file a proof of service within 3 days of entry of this order.
